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 3
     Attorney for Defendant
 4   ELIAZAR BARRAZA TORRES
 5
                              UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF CALIFORNIA
 7

 8

 9
     UNITED STATES OF AMERICA
                                                      )   Case No.: CR S-08-326 FCD
                      Plaintiff,                      )
10
                                                      )   STIPULATION AND ORDER CONTINING
             vs.                                      )
11
                                                      )   STATUS CONFERENCE AND
     ELIAZAR BARRAZA TORRES , et. al.                 )   EXCLUDING TIME
12
                                                      )   .
                      Defendants.                     )
13
                                                      )
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16
                      It is hereby stipulated and agreed to between the United States of America
17
     through Jill Marie Thomas, Assistant United States Attorney and defendant ELIAZAR
18

19   BARRAZA TORRES by and through his counsel, Lindsay Anne Weston that the status
20
     conference in this matter currently scheduled for Monday, November 17, 2008, at 10:00 a.m. be
21
     continued to Monday, December 15, 2008, at 10:00 a.m.
22

23           The basis for this continuance, which is at the request of the defense, is that defense

24   counsel needs additional time to consult with Mr. Torres regarding his decision to proceed to
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     trial or to enter a change of plea, and further, to obtain additional discovery from the government
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     if it is available.
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            IT IS FURTHER STIPULATED that the period from November 17, 2008, (the date
 1

 2   currently set for the status conference) through and including December 15, 2008, be excluded in
 3
     computing the time within which trial must commence under the Speedy Trial Act, pursuant to
 4
     18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel.
 5

 6   Dated: November 13, 2008                    Respectfully submitted,

 7                                               /s/Lindsay Weston
 8                                               _________________________________
                                                 LINDSAY ANNE WESTON
 9                                               Attorney for Defendant
10
                                                 ELIAZAR BARRAZA TORRES

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12
                                                 MCGREGOR W. SCOTT
13                                               United States Attorney
14
                                                 /s/ Lindsay Weston for
15                                               _______________________________
                                                 JILL MARIE THOMAS
16                                               Assistant United States Attorney
17                                               Per telephonic authority

18

19
                                          ORDER
20
     IT IS SO ORDRED.
21

22   Dated: November 13, 2008                    _______________________________________
23
                                                 FRANK C. DAMRELL, JR.
                                                 UNITED STATES DISTRICT JUDGE
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